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                                   United States District Court
                                    DISTRICT OF MONTANA BILLINGS DIVISION


 UNITED STATES OF AMERICA                                                 JUDGMENT IN A CRIMINAL CASE


 V.

                                                                           Case Number: CR 20-94-BLG-SPW-2
 MARVIN CHARLES KURD                                                       USM Number: 18125-046
                                                                           Larry Jent
                                                                           Def'eniiani's Auomey



THE DEFENDANT:
       pleaded guilty to count(s)                        1 of the Indictment
       pleaded nolo contendere to count(s) which
 □
      was accepted by the court
      was found guilty on count(s) after a plea of
 □
       not guilty

The defendant is adjudicated guilty of these offenses;
 Title & Section / Nature of Offense                                                              Offense Ended   Count
 21:841A=Cd.F Possession With Intent To Distribute Methamphetamine                                02/21/2020




The defendant is sentenced as provided in pages 2 through 7 of this judgment. The sentence is imposed pursuant to the
Sentencing Reform Act of 1984.

 □    The defendant has been found not guilty on count(s)
 □    Count(s) □ is □ are dismissed on the motion of the United States

        It is ordered that the defendant must notify the United States attorney for this district within 30 days of any
 change of name, residence, or mailing address until all fines, restitution, costs, and special assessments imposed by this
judgment are fully paid. If ordered to pay restitution, the defendant must notify the court and United States attorney of
material changes in economic circumstances.


                                                             November 3,2021
                                                             Date of Imposition of Judgment




                                                                nature of Judge

                                                             Susan P. Walters
                                                             United States District Judge,
                                                             Name and Title of Judge

                                                             November 3,2021
                                                             Date
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